

Schwartz v Schwartz (2024 NY Slip Op 06489)





Schwartz v Schwartz


2024 NY Slip Op 06489


Decided on December 20, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, OGDEN, NOWAK, AND DELCONTE, JJ.


885 CA 24-00556

[*1]MELINDA SCHWARTZ, PLAINTIFF-RESPONDENT,
vDANIEL A. SCHWARTZ, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






BENNETT SCHECHTER ARCURI &amp; WILL LLP, BUFFALO (KRISTIN L. ARCURI OF COUNSEL), FOR DEFENDANT-APPELLANT. 
RUPP PFALZGRAF LLC, WILLIAMSVILLE (MICHAEL J. COLLETTA OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 
PETER P. VASILION, WILLIAMSVILLE, ATTORNEY FOR THE CHILD.
MELISSA A. CAVAGNARO, BUFFALO, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Supreme Court, Erie County (Catherine R. Nugent Panepinto, J.), entered September 20, 2023, in a divorce action. The order, among other things, denied in part defendant's motion to compel discovery. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: December 20, 2024
Ann Dillon Flynn
Clerk of the Court








